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 8                     UNITED STATES DISTRICT COURT
                  IN THE CENTRAL DISTRICT OF CALIFORNIA
 9
10    RAPHAEL AUSTRIA,                           Case No.: 8:19-cv-02462-JLS-ADS
11
                  Plaintiff,                     ORDER OF DISMISSAL WITH
12                                               PREJUDICE OF DEFENDANT
13         v.                                    GENESIS FS CARD SERVICES
14
                                                 INC.

15    GENESIS FS CARD SERVICES
16    INC.,
17
                  Defendant.
18
19
20         Upon review of the Parties’ Stipulation of Dismissal with Prejudice of
21
     Defendant Genesis FS Card Services Inc., and pursuant to Federal Rule of Civil
22
23   Procedure 41(a)(1)(A)(ii), IT IS ORDERED that the Stipulation is GRANTED.
24
           The above-entitled matter is hereby dismissed with prejudice, as to Genesis
25
26   FS Card Services Inc., with the parties to bear their own attorneys’ fees, costs,
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28

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     Case 8:19-cv-02462-JLS-ADS Document 16 Filed 03/13/20 Page 2 of 2 Page ID #:55




 1   and expenses.
 2         IT IS ORDERED.
 3
           DATED: March 13, 2020
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 5                                               __________________________
                                                 Honorable Josephine L. Staton
 6                                               United States District Judge
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